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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION


 JOHN DOE,
                                                        No. 4:17-cv-079-RGE-SBJ
                 Plaintiff,

 vs.                                                    PLAINTIFF’S UNRESISTED
                                                        MOTION TO FILE OVERLENGTH
 GRINNELL COLLEGE, SARAH                                BRIEF IN SUPPORT OF
 MOSCHENROSS, ANGELA VOOS and                           RESISTANCE TO MOTION FOR
 BAILEY ASBERRY,                                        SUMMARY JUDGMENT

                 Defendants.


        Plaintiff John Doe moves the Court for leave to file a brief in support of his Resistance

 to Defendants’ Motion for Summary Judgment that is twenty-five pages overlength relative to

 the local rules (or a total of 45 pages). In support of his Motion, Plaintiff States:

        1.       On November 2, 2018, Plaintiff intends to file a Resistance to Defendant’s Motion

for Summary Judgment.

         2.      Plaintiff i s preparing a brief that addresses all remaining claims and theories

 alleged in Defendants Motion for Summary Judgment, which are numerous. The record

 evidence also consists of thousands of pages of documents and seven deposition transcripts, much

 of which contains informant relevant for inclusion in Plaintiff’s brief.

         3.      There is good cause to permit an overlength brief in light of the multiple legal

 theories and claims that Plaintiff must address and the size of the record.

        4.       Pursuant to Local Rule 7(k), counsel for Plaintiff has communicated with counsel

for Defendants about his intention to request permission from the Court to file a 45-page brief in

support of his Resistance to Defendants’ Summary Judgment motion. Defendants raised no objection

and will not resist this motion.
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       WHEREFORE Plaintiff respectfully requests that the Court grant this motion to file an

overlength brief.



                                             NESENOFF & MILTENBERG, LLP


                                                __/s/ Kara L. Gorycki____________________
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                                                -and-

                                                __/s/David Goldman
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                                                Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 29, 2018, I electronically filed Plaintiff’s Unresisted

Motion to file Overlength Brief in Support of Motion for Summary Judgment with the Clerk of

the Court using the ECF system which will send notification of such filing to the following:

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                                                            /s/ Jamila Janneh_____




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